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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

IN RE:                                                        CASE NO.19-04350-RLM-13
JASON RAY GISELBACH
DEBTOR(S)

                                 TRUSTEE'S MOTION TO DISMISS
                              WITH NOTICE OF OBJECTION DEADLINE

       Comes now, Ann M. DeLaney, Trustee herein, and moves the Court to enter an order dismissing the
above referenced Chapter 13 proceeding for the reason(s): The debtor has failed to submit copies of tax
returns as well as payment of refund(s) received pursuant to a previous order of this court for the tax
year(s) 2022,


        Parties are hereby notified that any objection to this Motion must be filed with the Court within
twenty-one (21) days from the date of service. Objections must be filed either electronically (for those who
are authorized ECF filers) or by delivery to the Clerk’s Office, by mail or in person at United States
Bankruptcy Court, Room 116, Birch Bayh Federal Building and United States Courthouse, 46 E. Ohio
Street, Indianapolis, Indiana 46204. The objection must be served on the trustee, the debtors, and any
attorney for the debtor(s). If no objection is timely filed, an order may be entered by the Court for the relief
requested.


                                                    Respectfully submitted,


DATE:May 1, 2023
                                                    /s/Ann DeLaney
                                                    Ann DeLaney
                                                    P.O. Box 441285
                                                    Indianapolis, IN 46244
                                                    Telephone: (317) 829-7360
                                                    Facsimile: (317) 829-7369
                                                    Email:anndelaney341@trustee13.com

                                            Certificate of Service

       I do hereby certify that a copy of the foregoing Trustee's Motion to Dismiss has been duly served
upon the following individuals, electronically or by United States mail, first-class postage prepaid, on this
date May 1, 2023:

JASON RAY GISELBACH: 171 WELLINGTON PARKWAY, NOBLESVILLE, IN 46060-


TOM SCOTT & ASSOCIATES: 4036 MADISON AVENUE, INDIANAPOLIS IN 46227-

                                                              /s/Ann DeLaney
                                                              Ann DeLaney
